    CAED 435                                      United States District Court, Eastern District of California                                   FOR COURT USE ONLY
    (Rev. 04/18)           Case 2:15-cr-00039-GEB Document 160 Filed 09/13/18 Page 1 of 1
                                                                TRANSCRIPT ORDER                                                                 DUE DATE:
PLEASE Read Instruction Page (attached):
1.YOUR NAME                                             2. EMAIL                                3. PHONE NUMBER                                  4. DATE
David W. Dratman                                dwdratman@aol.com                         916-443-2000                                           9/13/2018
5. MAILING ADDRESS                                                                         6. CITY                                               7. STATE          8. ZIP CODE
1007 7th Street, Suite 305                                                                Sacramento                                             CA                95814
9. CASE NUMBER                                 10. JUDGE                                                                     DATES OF PROCEEDINGS
2:15-cr-0039 GEB                                Judge Garland E. Burrell, Jr.              11. FROM 3/27/18                              12. TO 4/9/18
13. CASE NAME                                                                                                               LOCATION OF PROCEEDINGS
USA v. Emilio Lara                                                                         14. CITY Sacramento                           15. STATE CA
16. ORDER FOR
’ APPEAL No.                                     ✔      CRIMINAL                               CRIMINAL JUSTICE ACT                                   BANKRUPTCY
’     NON-APPEAL                                ’       CIVIL                             ’    IN FORMA PAUPERIS                                 ’    OTHER (Specify)

17. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested) You must provide the name of the Reporter.

              TRIAL                             DATE(S)               REPORTER                        HEARINGS                                    DATE(S)          REPORTER
✔    ENTIRE TRIAL                                 3/27/18-4/9/18        Kacy Barajas       ✔    OTHER (Specify Below)
     JURY SELECTION                                                                       Trial transcript from Opening Statements to Verdicts

     OPENING STATEMENTS
     CLOSING ARGUMENTS
    JURY INSTRUCTIONS




                                                                                        18. ORDER                             (Grey Area for Court Reporter Use)
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19. SIGNATURE                                                                              PROCESSED BY
/s/ David W. Dratman
20. DATE                                                                                   PHONE NUMBER
9/13/18
TRANSCRIPT TO BE PREPARED BY                                                               COURT ADDRESS




                                                            DATE              BY
ORDER RECEIVED

DEPOSIT PAID                                                                               DEPOSIT PAID

TRANSCRIPT ORDERED                                                                         TOTAL CHARGES

TRANSCRIPT RECEIVED                                                                        LESS DEPOSIT
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                                      TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                                  TOTAL DUE
